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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

In re:                                    Chapter 11

HIGHLAND CAPITAL MANAGEMENT, L.P.         Case No. 19-34054 (SGJ)

                         Debtor.          JAMES DONDERO, HIGHLAND
                                          CAPITAL MANAGEMENT FUND
                                          ADVISORS, L.P., NEXPOINT
                                          ADVISORS, L.P., THE DUGABOY
                                          INVESTMENT TRUST, THE GET
                                          GOOD TRUST, and NEXPOINT REAL
                                          ESTATE PARTNERS, LLC, F/K/A HCRE
                                          PARTNERS, LLC, A DELAWARE
                                          LIMITED LIABILITY COMPANY’S
                                          MEMORANDUM OF LAW IN SUPPORT
                                          OF RENEWED MOTION TO RECUSE
                                          PURSUANT TO 28 U.S.C. § 455



      MOVANTS’ AMENDED MEMORANDUM OF LAW IN SUPPORT OF
   AMENDED RENEWED MOTION TO RECUSE PURSUANT TO 28 U.S.C. § 455
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I.      INTRODUCTION

        This Renewed Motion to Recuse is necessary because the Court denied a prior motion by

James Dondero, Highland Capital Management Fund Advisors, L.P., The Dugaboy Investment

Trust, Get Good Trust, and NexPoint Real Estate Partners, LLC f/k/a HCRE Partners, LLC

(collectively, “Movants”) to supplement the record in support of their original motion to recuse,

making it impossible for Movants to have all evidence of the Court’s bias considered on appeal.

As set forth herein, the Court’s animus toward Movants is so evident, persistent, and severe that

Movants cannot receive fair treatment or justice in this Court. And while the Court previously

suggested that Movants sought recusal too late, that suggestion rings hollow, because the Court

continues to preside over several proceedings involving Movants, and because the Court’s bias

continues to pervade all proceedings before it. This Motion should be granted.

II.     PROCEDURAL HISTORY

        The Movants filed their original motion to recuse (“Original Recusal Motion”) on March

18, 2021.1 The Court denied the Motion less than a week later.2 In doing so, the Court

acknowledged “that the applicable statute and rule do not expressly address timeliness” but

nonetheless concluded that the motion was untimely.3 Moreover, despite recognizing that an

objective standard should be applied to a recusal determination, the Court instead applied a

subjective standard, based entirely on a self-assessment: “The Presiding Judge does not believe

she harbors, or has shown, any personal bias or prejudice against the Movants.”4

        The Movants appealed the Bankruptcy Court’s order denying their Original Recusal




1
  In re: Highland Capital Management, L.P., Case No. 19-34054-sgj11, Bankr. Dkt. No. 2061.
2
  Bankr. Dkt. No. 2083.
3
  Id. at 5.
4
  Id. at 10.


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Motion to the United States District Court for the Northern District of Texas on April 6, 2021.5

On February 9, 2022, the District Court denied the appeal for lack of jurisdiction.6

         Thereafter, this Court continued to preside over the bankruptcy proceedings as well as at

least nine adversary proceedings involving the Movants. Further, the Court has since held

additional hearings and made additional rulings and other statements that demonstrate clearly the

Court’s ongoing animus toward Movants. As a result, on August 26, 2022, Movants filed an

Amended Motion for Final Appealable Order and Supplement to Motion to Recuse Pursuant to

28 U.S.C. § 455 (“Motion to Supplement”), in which Movants sought: (1) to remove the

“reservation language” in the Original Recusal Order; (2) an order stating that Original Recusal

Order is final; and (3) to supplement the record on the Original Recusal Motion.7 The Court held

a hearing on the Motion to Supplement on August 31, 2022. At that hearing, the Movants

informed the Court that Highland was unopposed to the relief requested in the Motion to

Supplement. Nevertheless, the Court accused Mr. Dondero and his counsel of “carpet-bombing

us with paper and causing us to expend resources,” chastised Mr. Dondero’s counsel at length

for the size of the record submitted in support of the Motion, and asked counsel to “help me to

understand why this is not wasting resources in your view and why this isn’t just some strategy.”8

         Following the hearing, the Court issued an order denying the Motion to Supplement as

procedurally improper.9 In its order, the Court invited Movants to do one of two things: (1) file

a “simple motion” (without attaching additional evidence) seeking the removal of the language



5
  See Dondero v. Hon. Stacey G. C. Jernigan, Civ. Action No. 3-21-CV-0879-K.
6
  Id., Dkt. No. 39 at 1-2 (noting that the Bankruptcy Court “reserve[d] the right to amend or supplement” its ruling).
7
  Bankr. Dkt. No. 3470.
8
  Ex. U, August 31, 2022 Hr’g Tr. at 20:13-25. Based on the Court’s comments, Movants have attached only relevant
excerpts of transcripts to this Motion to minimize the volume of exhibits in the record. However, Movants can file an
appendix attaching full transcripts at the Court’s request.
9
  Bankr. Dkt. No. 3479 at 3.


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in the Court’s original order denying recusal that hindered immediate appeal, or (2) file a new

motion to recuse based on “any alleged new evidence or grounds for recusal.”10 By invoking the

first option, Movants would be free to seek mandamus of the Court’s denial of the Original

Recusal Motion, but would not have the benefit of a full and complete record. Consequently,

Movants have elected to file a new Motion containing all evidence of record that supports recusal.

III.    RELEVANT BACKGROUND AND EVIDENCE OF BIAS11

        Many disparaging remarks have been made about Mr. Dondero, his employees, and his

businesses during the course of these bankruptcy proceedings, few of which are tethered to facts

or evidence adduced in this case. Among other things, Mr. Dondero has repeatedly been labeled

“vexatious,” “litigious,” and a bad actor. HCMLP has, in turn, been described as a “Byzantine

empire” and “ruinous web.”12 These accusations—which, to be clear, is all they are—have no

basis in the realities of HCMLP’s business or Mr. Dondero’s management of it.

        A.       Mr. Dondero Ran A Successful And Profitable Business For More Than Two
                 Decades Prior to Bankruptcy

        HCMLP is an SEC-registered investment advisor founded in 1993 by Mr. Dondero and

Mark A. Okada.13 Although this Court has adopted various advocates’ description of HCMLP and

its affiliates as a complex “web” of entities operated at the whim and for the sole benefit of Mr.

Dondero, for 26 years prior to filing a chapter 11 petition, HCMLP operated as a legitimate (and

heavily regulated) investment advisor for the benefit of its managed funds and investors. As of

the Petition Date, HCMLP continued to employ 76 employees, including executive-level


10
   Id.
11
   Movants have truncated the discussion of the relevant background that previously was discussed in Movants’
Original Recusal Motion. Movants hereby incorporate the Original Recusal Motion by reference and, where
appropriate, Movants specifically reference sections of that Motion to support their renewed arguments here.
12
   Ex. D, June 30, 2020 Hr’g Tr. at 22:18, 68:24.
13
   Order (I) Confirming Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified)
and (II) Granting Related Relief (“Confirmation Order”), Bankr. Dkt. No. 1943, ¶ 4.


                                                      3
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managers.14 Thus, while the Court has described Mr. Dondero as HCMLP’s solitary decision-

maker on all matters concerning the company’s operation and management, that description makes

no sense. At its high-water mark, HCMLP had assets under management exceeding $40 billion.

        Following the financial crisis in 2008, HCMLP and some of its managed funds and

affiliates, like many other financial institutions and advisors across the globe, faced several

lawsuits. Notably, although the Court has repeatedly characterized Mr. Dondero as “litigious” and

“vexatious,” in virtually all of the lawsuits involving HCMLP before its bankruptcy filing,

HCMLP was the defendant.15 What is more, between 2008 and HCMLP’s bankruptcy filing in

2019, virtually none of the lawsuits filed against HCMLP resulted in any sizeable liability against

HCMLP, and certainly none that would render HCMLP insolvent.16 Indeed, the only significant

award issued against HCMLP at any time between 2008 and 2019 is an arbitration award in favor

of the Redeemer Committee.            It also bears mentioning that at no time prior to HCMLP’s

bankruptcy filing had Mr. Dondero ever personally been held liable for any misconduct in relation

to his management of HCMLP’s business.

        B.       The Court Formed An Animus Against Mr. Dondero During The Acis
                 Bankruptcy Case That Infected This Bankruptcy Case From The Outset

        The Court’s animus toward Movants stems from its earlier involvement in the bankruptcy

case of Acis Capital Management, L.P., a Delaware limited partnership formed in 2010. In January

2018, Joshua Terry, filed an involuntary petition in bankruptcy against Acis and its general partner,




14
   Id., ¶ 5.
15
   See, e.g., UBS Securities, LLC v. Highland Capital Mgmt., L.P., et al., Index No. 650097/2009 (N.Y. Sup. Ct.);
Citibank, N.A. v. Highland CDO Opportunity Master Fund, L.P., et al., Case No. 1:12-cv-02827-NRB (S.D.N.Y.);
HYMF, Inc. v. Highland Capital Mgmt., L.P., et al., Index No. 601027/2009 (N.Y. Sup. Ct.); Daugherty v. Highland
Capital Mgmt., et al., Case No. 2017-0488-SG (Del. Ch. Ct.).
16
   Although this Court has suggested that HCMLP owes “$1 billion” to UBS, the UBS judgment was not against
HCMLP but two of its managed funds. See Bankr. Dkt. 177-4. The Debtor itself objected to UBS’s $1 billion proof
of claim on this basis. See Bankr. Dkt. No. 906.


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Acis Capital Management GP, L.L.C. (collectively, “Acis”).17 This Court presided over the Acis

Bankruptcy. Prior to its bankruptcy, Acis served as portfolio manager for “hundreds of millions

of dollars’ worth” of collateralized loan obligations (“CLOs”).18 Mr. Dondero served as Acis’s

Chief Executive Officer, and HCMLP provided certain services to Acis pursuant to shared services

agreements. The Court’s Bench Ruling confirming Acis’s Chapter 11 plan makes abundantly clear

that the Court formed negative opinions of Mr. Dondero during that bankruptcy case. The ruling

is replete with negative remarks about Mr. Dondero, his management decisions, and the structure

of his businesses.

        HCMLP, a separately owned entity, filed its Chapter 11 petition in bankruptcy for entirely

different reasons in Delaware on October 16, 2019.19 At the time, Debtor’s counsel—Pachulski,

Stang, Ziehl & Jones, LLP (“Pachulski”)—explained that it filed the bankruptcy in Delaware to

give HCMLP and its then-existing management (including Mr. Dondero), a “fresh start.”20 The

Official Committee of Unsecured Creditors (the “UCC”) moved to transfer the proceedings to

this Court, arguing that transfer was appropriate because the Court had the benefit of a “learning

curve” because of the Acis Bankruptcy.21 At the time, Pachulski resisted the transfer, arguing that

the UCC only wanted to take advantage of the Court’s preexisting negative views of HCMLP’s

management.22 Thus, it was Pachulski that initially questioned the Court’s impartiality. The




17
   In re Acis Capital Mgmt., L.P., Case No. 3:18-bk-30264 (N.D. Tex.) (“Acis Bankruptcy”), Dkt. No. 1; see also
Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of Disclosure Statement; and (B)
Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan (“Bench Ruling), Acis Bankr. Dkt. No. 287 at 10-
11.
18
   Bench Ruling, Acis Bankr. Dkt. No. 827 at 4.
19
   Bankr. Dkt. No. 3.
20
   Ex. A, December 3, 2019 Hr’g Tr. at 78:21-23.
21
   Id.
22
    Id. at 78:3-8; see also id. at 79:14-20 (referring to the opinions the Court formed in the Acis bankruptcy as
“baggage”).


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Delaware Bankruptcy nonetheless granted the UCC’s motion to transfer.23

         Following transfer, this Court foreshadowed that it would rely on the negative opinions

it formed during the Acis Bankruptcy in dealing with Mr. Dondero, his former employees, and

his affiliated entities.24 Indeed, at the very first hearing before this Court on January 9, 2020, the

Court reiterated its many negative opinions.25 And the Court pointed to actions purportedly taken

by Mr. Dondero in the Acis Bankruptcy as “evidence” of a presumed propensity of Mr. Dondero

to engage in similar actions in the HCMLP bankruptcy. For that reason, the Court insisted on

including language in its order allowing it to hold Mr. Dondero (but no other party) in contempt

of court.26 Notably, at the time of this first hearing, Mr. Dondero had not filed a single motion

or objection to any motion. Consequently, there was nothing in the record before the Court to

justify its specific rulings and comments relating to Mr. Dondero.

         C.       The Court’s Animus Continued To Infect It Decision-Making And Treatment
                  Of Movants

                  1.       The February 19, 2020 Motion to Retain Hearing

         Just over a month after the Court’s initial hearing in the bankruptcy case, on February 19,

2020, the Court held a hearing on HCMLP’s application to retain the law firm Foley Gardere to

pursue appeals relating to the Acis Bankruptcy on behalf of Neutra Ltd., a company owned by Mr.

Dondero that succeeded to the ownership of Acis. Importantly, during the hearing, former

Bankruptcy Judge Russell Nelms—one of the three independent directors appointed to Debtor’s

Independent Board—testified that, in the Board’s business judgment, employment of Foley


23
   Id. at 90:15-24.
24
   Shortly after the case was transferred, the United States Trustee likewise relied on the Court’s comments and
conclusions in the Acis Bankruptcy as the basis for its motion to appoint a Chapter 11 trustee. See Bankr. Dkt. No.
271. None of the evidence cited in the Trustee’s motion had yet been adduced in HCMLP’s bankruptcy proceeding.
25
   Ex. B, January 9, 2020 Hr’g Tr. at 78:23-79:16 (stating, “I can’t extract what I learned during the Acis case, it’s in
my brain,” and explaining its opinion that Mr. Dondero acted in a “bad way” in the Acis case).
26
   Id. at 80:3-6; see also id. at 52:10-25.


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Gardere and payment of its legal fees was in the Debtor’s best interest.27 Despite that testimony,

the Court sua sponte expressed a belief (untethered to evidence) that Mr. Dondero may have

somehow used his “powers of persuasion” to unduly influence the Independent Board’s business

judgment.28 The Court did not stop there. It went on to comment: “Highland is in bankruptcy

because of litigation, litigation, litigation. The past officers and directors and controls’ propensity

to fight about everything . . . It’s about years of litigation coming home to roost. And this appears

to be more of the same, potentially.”29 That unsolicited commentary is surprising for two reasons.

First, again, Mr. Dondero had not yet “fought” anything in the context of the HCMLP proceedings

(and indeed, was not even present at the hearing on the Debtor’s motion to retain Foley Gardere).

Second, HCMLP was the defendant in the various lawsuits spawning “years of litigation,” which

the Court nonetheless blamed on “past officers and directors” of HCMLP.30 Where, as here, the

Court has manifested an early distrust of one party and made unsolicited negative comments about

the party’s practices and intent, federal appellate courts have required recusal.31




27
   Ex. C, February 19, 2020 Hr’g Tr. at 62:6-17.
28
   Id. at 177:7-178:3 (emphasizing the Court’s “long history” with Mr. Dondero—a history that came entirely from
the Acis Bankruptcy). In the same hearing, the Court also suggested that Mr. Dondero could not be “trusted” to “keep
his word.” Id. at 174:11-175:13. When applying the reasonable business judgment standard to Mr. Seery and Debtor
management, by contrast, the Court has said it is a very low standard requiring judicial deference. See Ex. W, August
4, 2021 Hr’g. Tr. at 77:4-78:20.
29
   Ex. C, Feb. 19, 2020 Hr’g Tr. at 178:4-12.
30
   See id. at 177:7-178:17. Again, the only pre-petition lawsuit that ended in any sizeable judgment against HCMLP
was the arbitration award issued against HCMLP in favor of the Redeemer Committee. Further, the Debtor objected
to proofs of claim filed by the parties litigating or attempting to litigate against HCMLP—including those filed by
Acis, UBS, Pat Daugherty, and HarbourVest—arguing that their proofs of claim were unmeritorious. See Bankr. Dkt.
Nos. 771 (Acis and Terry), 1008 (Daugherty), 906 (HarbourVest), 928 (UBS).
31
   See Sentis Group, Inc. v. Coral Group, Inc., 559 F.3d 888, 904-05 (8th Cir. 2009) (judge’s “apparent distrust of
Plaintiffs as manifested early in the litigation” were among the reasons that reassignment on remand was appropriate);
U.S. v. Microsoft Corp., 56 F.3d 1448, 1464-65 (D.C. Cir. 1995) (district judge made “several comments during
proceedings which evidenced his distrust of Microsoft’s lawyers and his generally poor view of Microsoft’s practices”
arising out of “other alleged misdeeds,” none of which were at issue in the actual case before it).


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         From that point on, unsurprisingly, HCMLP and its counsel began to leverage the Court’s

predisposition against Mr. Dondero (i.e., what the Debtor had previously described as the Court’s

“baggage”) for the Debtor’s own benefit.32

                  2.       The June 30, 2020 CLO Fund Release Hearing

         The Court’s animus against Movants persisted, and if anything, got worse, from there. In

April 2020, CLO Holdco—a non-debtor wholly-owned subsidiary of a charitable Donor-Advised

Fund (the “DAF”) established by Mr. Dondero, moved to have $2.5 million in funds that

indisputably belonged to CLO Holdco released from the registry of the Court.33 The UCC

objected. At a June 2020 hearing, CLO Holdco introduced 16 exhibits supporting its claim to the

funds, and the Court admitted that CLO Holdco’s lawyer made “perfect arguments” regarding the

potential legal ramifications of refusing to release the funds, including that “holding the money in

the registry of the Court that a non-debtor asserts is its property” is “tantamount to a prejudgment

remedy.”34 Nonetheless, based entirely on arguments made by counsel for the UCC, the Court

again concluded that Mr. Dondero was behind the CLO Holdco filing and, therefore, questioned

whether it was filed in “good faith,” despite the absence of evidence in the record supporting this

belief.35 The Court therefore denied the motion.

                  3.       The July 8, 2020 Exclusivity Hearing

         Just over one week later, at a hearing on HCMLP’s motion to extend the exclusivity period,


32
   This is similar in kind to what happened in Sentis Group, Inc., in which the U.S. Court of Appeals for the Eighth
Circuit reversed and remanded for reconsideration by a different judge a district court’s order dismissing the case as
a sanction for perceived discovery misconduct by the plaintiffs. In a case marred by contentious discovery disputes,
the Eight Circuit first noted that “defense counsel’s goal shifted from conducting effective discovery to fanning the
flames of the court’s frustration and building a case for sanctions.” Id. at 891. Ultimately, the Eighth Circuit reversed
the sanctions order and held that the district court’s statements, in combination with its misconstruction of a prior
order and “its apparent distrust of Plaintiffs as manifested early in the litigation” showed a “sufficiently high degree
of antagonism to require reassignment of the case on remand.” Id. at 904-05.
33
   Bankr. Dkt. No. 590.
34
   See Ex. D, June 30, 2020 Hr’g Tr. at 85:17-22.
35
   Id. at 82:3-11, 85:4-16.


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the Court, acting sua sponte, directed HCMLP’s counsel to investigate Mr. Dondero and certain

“Highland affiliates” after allegedly seeing a news article (that was not part of the record) that

referenced “Mr. Dondero or Highland affiliates” receiving PPP loans.36 Notably, neither Mr.

Dondero nor the “Highland affiliates” referred to in the article were the property of or controlled

by HCMLP. In fact, as HCMLP would later confirm, the PPP loans at issue had nothing

whatsoever to do with the HCMLP.37

                  4.       The December 16, 2020 And January 26, 2021 CLO Hearings

         In keeping with its habit of accusing entities that the Court perceives to be affiliated with

Mr. Dondero of acting “bad faith,” the Court did so again in December 2020.38 On December 16,

2020, the Court held a hearing on a motion by various third-party financial advisors and retail

funds to prevent HCMLP’s liquidation of certain CLO assets (the “Restriction Motion”).39 During

the hearing, the Court chastised counsel for the advisors and retail funds for filing the Restriction

Motion (i.e., for advocating a good faith position on behalf of their clients), stating that it was

“dumbfounded” by the motion, and opining that Mr. Dondero was behind it, notwithstanding that

it was filed by separate and distinct legal entities represented by independent counsel.40 The Court

concluded, without any evidentiary basis, that the Restriction Motion was brought for an improper

purpose.41     The Court further declared the Restriction Motion frivolous, “almost Rule 11



36
   See Ex. E, July 8, 2020 Hr’g Tr. at 42:10-24.
37
    Ex. F, July 14, 2020 Hr’g Tr. at 53:17-59:3.
38
   The federal courts have repeatedly required recusal or reassignment to a different judge where the sitting judge
questions the integrity of one party or their counsel or suggests that their actions constitute “bad faith.” See, e.g.,
Johnson v. Sawyer, 120 F.3d 1307, 1334-37 (5th Cir. 1997); In re U.S., 572 F.3d 301, 311-12 (7th Cir. 1999); U.S. v.
Kennedy, 682 F.2d 244, 258-60 (3d Cir. 2012).
39
   Bankr. Dkt. No. 1522. The basis and context for the motion is described in detail in Movants’ Original Recusal
Motion, Bankr. Dkt. No. 2061, at pp. 8-16. Notably, the retail funds are registered investment advisors that owe
independent fiduciary duties to their investors pursuant to the Investment Advisors Act of 1940.
40
   Ex. J, December 16, 2020 Hr’g Tr. at 63:14-25.
41
   Id.


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frivolous,” notwithstanding that the motion was filed in good faith.42 The Court then used the

hearing to condemn Mr. Dondero on the record.

         Yet another display of the Court’s bias toward Movants came in the context of this same

dispute, several weeks later. On January 26, 2021, the Court held a preliminary injunction hearing

in which it considered whether the advisors and retail funds had tortiously interfered with

agreements relating to management of the CLOs.43 It was abundantly clear at the hearing that

HCMLP could not make the requisite showing to justify injunctive relief.44 And the evidence was

undisputed that Mr. Dondero did not influence or cause the advisors or retail funds to take any

action. Nevertheless, the Court once again turned its focus to Mr. Dondero, warning him that the

Court had prohibited him from taking action to interfere with the CLOs. Incredibly, the Court then

made the implied finding that Mr. Dondero had caused counsel for the retail funds to take certain

actions.45 The Court further stated that it was “leaning” toward finding Mr. Dondero in contempt

of court and threatening to shift the “whole bundle of attorney’s fees” to Mr. Dondero in

connection with a motion for injunctive relief filed by HCMLP that had nothing to do with him.46

                  5.        The Court’s Ruling On Movants’ Motion For An Examiner

         Another concerning thing that has happened at the hands of this Court is the repeated

disenfranchisement of Movants from judicial process. For example, the Court has repeatedly

wielded its scheduling powers as a sword against Movants, often preventing any real consideration


42
   See id. at 64:1-7. The statutory basis for the requested relief was section 363(c)(1) or section 1108 of the Bankruptcy
Code, which provide that the debtor-in-possession may engage in ordinary course business “unless the court orders
otherwise.” That was all that the Advisors and Retail Funds asked the Court to do.
43
   See Adv. Proc. No. 21-03000-sgj, Dkt. 1; Ex. L, January 26, 2021 Hr’g Tr.
44
   HCMLP’s failures in this regard are detailed in Movants’ Original Recusal Motion, Bankr. Dkt. No. 2016, at pp.
13-16.
45
   This finding was in direct contravention of the Court’s statements just one week earlier, where it implied that Mr.
Dondero lacked such control and prohibited Mr. Dondero from testifying that he exercised no control of the advisors,
the retail funds, or their counsel. Ex. K, January 8, 2021 Hr’g Tr. at 119:6-122:25.
46
   Ex. L, Jan. 26, 2021 Hr’g Tr. at 251:24-252:5.


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of legitimate motions filed by Movants by ensuring that hearings on those motions happen too late.

In one such instance, on January 14, 2021, Dugaboy and Get Good (the “Trusts”) requested the

Court direct the appointment of a neutral third-party examiner pursuant to 11 U.S.C. § 1104(c) as

a less costly means to resolve various issues that had arisen in the HCMLP bankruptcy (the

“Examiner Motion”).47 The Trusts sought the appointment of an examiner to address, among other

things (i) the issues raised by the advisors and the retail funds in the Restriction Motion, (ii) various

objections to the proposed plan of reorganization raised by the advisors, the retail funds, and the

United States Trustee (discussed below), and (iii) concerns expressed by the Court about costs and

expenses incurred in the context of the bankruptcy proceedings.48

        Given the timing of the Examiner Motion relative to the expected date of the hearing on

Debtor’s Fifth Amended Plan of Reorganization (as Modified) (the “Plan”), the Trusts asked the

Court to consider the Motion on an “emergency” basis to avoid interference with the Plan.49

Despite this request (and despite the Court’s willingness to hear motions filed by HCMLP on an

emergency basis), the Court set the hearing on a date long after the expected hearing on Plan

confirmation, thereby ensuring that the Motion would be rendered moot.

        D.       The Court Confirms A “Monetization Plan” Over Movants’ Objections

        The Court’s biased decision-making tethered to its preexisting negative views of Mr.

Dondero persisted through Plan confirmation.

        On February 8, 2021, the Court announced its oral ruling regarding the Plan, in which the

Court referred inexplicably and extensively to proceedings in the Acis Bankruptcy.50 In its ruling,




47
   Bankr. Dkt. No. 1752.
48
   Id.
49
   Id.
50
   Ex. M, February 8, 2021 Hr’g Tr. at 15:15-16:5.


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the Court summarily rejected all of the Plan objections lodged by Movants, decreeing them as filed

in bad faith.51 Next, even though it had “not been asked to declare Mr. Dondero and his affiliated

entities as vexatious litigants per se,” the Court deemed Mr. Dondero and other Movants

“vexatious litigants.”52       The Court’s ruling failed to comport with its own iteration of the

prerequisites to declaring a litigant vexatious.53 Indeed, the Fifth Circuit recently explained that

the Bankruptcy Court failed to follow proper procedures to designate Mr. Dondero vexatious.54

         On February 22, 2021, the Court issued its Confirmation Order. Against the backdrop

discussed herein, it is perhaps not surprising that the Court again took the opportunity to criticize

and accuse Mr. Dondero and Movants:

         •        “Naturally, [the independent board members] were worried about getting sued no
                  matter how defensible their efforts—given the litigation culture that enveloped
                  Highland historically. Based on the record of this case and the proceedings in the
                  Acis chapter 11 case, it seemed as though everything always ended in litigation at
                  Highland.”55

         •        “The Debtor’s Chief Executive Officer, James P. Seery, credibly testified at the
                  Confirmation Hearing that the Debtor was ‘run at a deficit for a long time and then
                  would sell assets or defer employee compensation to cover its deficits.’ The
                  Bankruptcy Court cannot help but wonder if that was necessitated because of
                  enormous litigation fees and expenses incurred by the Debtor due to its culture of
                  litigation . . . .”56

         •        “[T]he Bankruptcy Court questions the good faith of Mr. Dondero’s and the
                  Dondero Related Parties’ objections. In fact, the Bankruptcy Court has good reason
                  to believe that these parties are not objecting to protect economic interests they have
                  in the Debtor but to be disruptors.”57

         •        “Mr. Post testified on behalf of the Highland Advisors and Funds that the Funds
51
   Id. at 20:17-20.
52
   Id. at 46:20-25, 45:12-14.
53
   See id. at 46:6-15 (describing factors to be considered prior to deeming a litigant vexatious).
54
   See In the Matter of Highland Capital Mgmt., L.P., 48 F.4th 419 n.19 (5th Cir. 2022) (citing In re Carroll, 850 F.3d
811, 815 (5th Cir. 2017) (per curiam)). The problems with the Court’s ruling regarding vexatiousness are further
described in detail in Movants’ Original Recusal Motion, Bankr. Dkt. No. 2061 at pp. 21-27.
55
   Confirmation Order, Bankr. Dkt. No. 1943, ¶ 14.
56
   Id., ¶ 7.
57
   Id., ¶ 17.


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                  have independent board members that run the Funds, but the Bankruptcy Court was
                  not convinced of their independence from Mr. Dondero because none of the so-
                  called independent board members have ever testified before the Bankruptcy Court
                  and all have been engaged with the Highland complex for many years. Notably,
                  the Court questions Mr. Post’s credibility because, after more than 12 years of
                  service, he abruptly resigned from the Debtor in October 2020 at the exact same
                  time that Mr. Dondero resigned at the Board of Directors’ request, and he is
                  currently employed by Mr. Dondero.”58

         •        In discrediting the objections of various NexBank entities, the Court likewise
                  surmised that “Mr. Dondero appears to be in control of these entities as well.”59

         •        “[T]he Bankruptcy Court has allowed . . . these objectors to fully present arguments
                  and evidence in opposition to confirmation, even though . . . the Bankruptcy Court
                  questions their good faith. Specifically, the Bankruptcy Court considers them all
                  to be marching pursuant to the orders of Mr. Dondero.”60

Again, the Bankruptcy Court offered up no specific evidence of any bad faith on behalf of Mr.

Dondero or the other “objectors.” Nor did the Court offer any evidence (or explanation) of why it

had “good reason to believe” that Mr. Dondero and the other objectors were seeking to do anything

other than protect their legitimate economic interests.61 In short, an objective observer reading the

language of the Confirmation Order would have reason to question this Court’s impartiality.

         E.       The Court’s Post-Confirmation Decisions Have Continued To Give The
                  Appearance Of Bias

         Since confirmation, the Court has continued to act in a biased manner.




58
   Id., ¶ 18. Notably, at the time of these comments, there was no evidence of record even suggesting that the Funds
were managed by anything other than independent boards, and there was no evidence—other than the Court’s own
conjecture—that Mr. Post’s resignation from his position at HCMLP had anything to do with Mr. Dondero. Nor is it
clear how Mr. Post’s mere association with Mr. Dondero could possibly impact his competency or credibility to testify
about the management of various Funds that he personally came into contact with during “12 years of service” for the
Debtor.
59
   Id.
60
   Id., ¶ 19.
61
   Notably, the Fifth Circuit previously has admonished this Court for making findings and decisions based on mere
“suspicion” and “indirect inference” rather than evidence. In The Cadle Co. v. Moore, the Fifth Circuit reversed an
order of dismissal issued by this court as a sanction for “abuse of judicial process,” finding that the “bankruptcy court’s
mere suspicions do not add up to clear and convincing evidence.” 739 F.3d 724, 731 (5th Cir. 2014). In addition, the
Fifth Circuit emphasized that it was “troubled by the bankruptcy court’s use of indirect inferences” to support its
decision. Id. at 731 n.11.


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                 1.       The Court’s August 2021 Sanctions Order

        Perhaps one of the most telling orders issued by the Court since the Original Recusal

Motion was filed is the Court’s order sanctioning various entities and individuals because two

entities—the DAF and CLO Holdco—in consultation with legal counsel, decided to file a lawsuit

against HCMLP in the Northern District of Texas. Specifically, on April 12, 2021, a complaint

was filed against HCMLP and two HCMLP-controlled entities (Highland HCF Advisor, Ltd.

(“HCFA”) and Highland CLO Funding, Ltd. (“HCLOF”)) alleging, inter alia, impropriety by the

Debtor, HCFA, and HCLOF in brokering the sale of CLO interests held by HarbourVest62 to the

Debtor, without prior notice to other CLO investors and without respecting those investors’ right

of first refusal.63 Shortly after filing the complaint, the DAF and CLO Holdco filed a motion for

leave to amend the complaint to add Mr. Seery as a defendant, based on his role brokering the

HarbourVest transaction.64 Within days of these filings, HCMLP filed a motion seeking an order

holding the DAF, CLO Holdco, and “the persons who authorized the DAF and CLO Holdco . . .

to file the Seery motion,” including their attorneys, Sbaiti & Company, PLLC, in civil contempt.65

        The Court held an evidentiary hearing on HCLMP’s sanctions motion on June 8, 2021. At

that hearing, Mark Patrick, who was then serving as the DAF’s general manager, testified that he

hired Sbaiti & Co. and that he authorized the DAF to file the lawsuit and the motion to add Mr.




62
   “HarbourVest” refers to HarbourVest Dover Street IX Investment, L.P., HarbourVest 2017 Global AIF, L.P.,
HarbourVest 2017 Global Fund, L.P., HV International VIII Secondary, L.P., and HarbourVest Skew Base AIF, L.P.
63
   Charitable DAF Fund, L.P. v. Highland Capital Management, L.P., Case No. 21-cv-00842 (N.D. Tex.) (“DAF
Action”).
64
   DAF Action, Dkt. No. 6.
65
   Bankr. Dkt. No. 2247. Specifically, HCMLP argued that the lawsuit and the motion seeking to add Mr. Seery as a
defendant violated the Court’s Order Approving Settlement with Official Committee of Unsecured Creditors
Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course [Dkt. 339] and as well as
its Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of
James P. Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro
Tunc to March 15, 2020 [Dkt. 854]. Id. at 2.


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Seery as a defendant.66 Mr. Dondero testified that, while he provided certain information to the

DAF and Sbaiti & Co. in relation to the lawsuit, he was not involved at all in authorizing or

preparing the motion to add Mr. Seery (the main reason for the motion for civil contempt).67

        Despite this testimony and the absence of any contravening testimony, the Court concluded

that “Mr. Dondero sparked this fire” and that the evidence “was clear and convincing that Mr.

Dondero encouraged Mr. Patrick to do something wrong, and Mr. Patrick basically abdicated

responsibility to Mr. Dondero.”68 The Court then concluded that the lawsuit filed by the DAF and

CLO Holdco was, “from this Court’s estimation, wholly frivolous.”69 In fashioning its sanctions

award, the Court took into consideration the invoices submitted by HCMLP’s counsel reflecting

what the firm actually incurred in connection with the civil contempt motion ($38,796.50), and

then compounded the sanction by nearly seven times that amount. In the end, the Court ordered

the DAF, CLO Holdco, Sbaiti & Co. (including Mazin Sbaiti and Jonathan Bridges individually),

Mark Patrick, and Mr. Dondero to pay $239,655 in sanctions to HCMLP.70 Worse still, the Court

tacked on a monetary sanction of $100,000 to be paid by anyone that filed any appeal.71

        In short, the Court ignored the undisputed testimony of record to find “clear and convincing

evidence” of Mr. Dondero’s responsibility for the motion to name Mr. Seery as a defendant,

concocted a way to saddle Mr. Dondero and others with a multi-hundred thousand dollar liability,

and prophylactically sanctioned any effort to invoke a legal appellate process.72


66
   Bankr. Dkt. No. 2660 at 19.
67
   Id. at 21.
68
   Id.
69
   Id. at 26 (emphasis added).
70
   See id. at 28-30.
71
   Id. at 30. The District Court subsequently confirmed the sanctions award. Mr. Dondero intends to appeal.
72
   The District Court recently found that the claims against the Debtor with respect to the Debtor’s dealings with
HarbourVest had merit—despite the Bankruptcy Court’s lengthy and opinionated vocalizations to the contrary.
Compare The Charitable DAF Fund, L.P. v. Highland Capital Mgmt., L.P., Adv. Proc. No. 3:21-cv-3129-B, Dkt. No.
28, with Bankr. Dkt. 2247. Judge Boyle reversed the Bankruptcy Court’s dismissal of the claims against the Debtor


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                  2.       The Court’s Order To Appear

         The Court has further targeted Mr. Dondero (as well as his sister Nancy Dondero) by

requiring their presence at all hearings, regardless of whether their presence is needed. In ordering

Mr. Dondero’s presence, the Court explained that Mr. Dondero’s participation in the bankruptcy

and related proceedings was “taking up time.”73 By the Court’s own admission, this is a departure

from its usual approach, where a party would be expected to attend hearings only if they are “taking

a position” on the issue at hand.74

         At the same hearing (which was to decide a motion to compel the Debtor’s deposition

testimony), the Court openly speculated that there was an ulterior motive of “antagonism” behind

Mr. Dondero’s good-faith litigation conduct.75 The Court’s statements indicate that, when Mr.

Dondero engages in routine litigation steps, like making discovery motions, the Court will treat

such actions as nefarious “antagonistic move[s]” rather than ordinary invocation of legal process.

                  3.       The Court’s September 12, 2022 Withdrawal of Claim Hearing

         And in the most recent example of the Court’s biased decision-making, on September 12,

2022, the Court held a hearing on several motions, including a motion by Movant NexPoint Real

Estate Partners LLC f/k/a HCRE Partners LLC (“HCRE”) to withdraw its proof of claim.76 In that

hearing, HCRE sought the Court’s approval to withdraw a disputed proof of claim relating to

HCRE’s asserted interest in a fund called SE Multifamily Holdings.77 Counsel for HCMLP



on the basis of collateral estoppel, noting that the Bankruptcy Court had raised collateral estoppel sua sponte—neither
party had raised collateral estoppel below, nor even briefed the issue—and holding that the elements of collateral
estoppel could not be met under the circumstances. See Adv. Proc. No. 3:21-cv-3129-B, Dkt. 28 at 7-13.
73
   Ex. P, May 20, 2021 Hr’g Tr. at 20:19-21:14.
74
   Id.; see also id. at 21:1-8.
75
   Id. at 34:3-9 (criticizing Mr. Dondero for engaging in “a fight with Mr. Seery” and commenting that “the motion
to compel names him by name. It just — it feels like another antagonistic move”).
76
   Ex. V, Sept. 12, 2022 Hr’g Tr.
77
   Bankr. Dkt. No. 3443 at 3.


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objected to HCRE’s withdrawal in the absence of certain concessions by HCRE, including a

stipulation that HCRE would not contest HCMLP’s 46.6% interest in SE Multifamily Holdings

and that HCRE would waive any right to appeal a final order on its withdrawn proof of claim.78

In what can only be described as an incredible exchange, the Court first asked HCRE’s counsel,

Bill Gameros (“Mr. Gameros”), if HCRE would consent to those conditions. Mr. Gameros agreed

to both.79 But that did not satisfy the Court. The Court instead demanded that a “client

representative” of HCRE appear and testify that the conditions were acceptable. At that point, DC

Sauter, in-house counsel for Mr. Dondero, appeared and confirmed that HCRE would agree to the

conditions for withdrawal of its proof of claim.80 Still, the Court was not satisfied:

         THE COURT:                 All right. Well, it sounds like hearsay to me. I don’t know –
                                    Counsel, let me have you both respond. You know, I worry about
                                    this will fall apart the minute Mr. Dondero is instructing a lawyer,
                                    I never agreed to that. I mean I just don’t know. This is highly
                                    unusual.81

When Mr. Sauter explained that Mr. Dondero felt more comfortable having a lawyer make legal

representations on the record, the Court responded: “I mean I’m not sure I care what you say, no

offense. I don’t think I have a person with clear authority here.”82 The Court then rebuffed Mr.

Gameros’s suggestion he could make binding representations on behalf of his client: “Mr.

Gameros, come on. You know this is the client’s decision to make. Okay. I don’t have a client

representative.”83

         At that point, Mr. Gameros offered to get Mr. Dondero on the phone to give the exact same




78
   Ex. V, Sept. 12, 2022 Hr’g Tr. at 32:22-34:2.
79
   Id.
80
   Id. at 34:3-20, 35:36.
81
   Id. at 36:4-8 (emphasis added).
82
   Id. at 36:12-37:9.
83
   Id. at 37:7-22.


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representation that Mr. Gameros and Mr. Sauter had already given. Before taking Mr. Dondero’s

sworn testimony, the Court rebuffed him for failing to have access to video, even though he no

previous notice he would have to give testimony at the hearing.84 Mr. Dondero testified that HCRE

would agree to all of the Debtor’s conditions to withdrawal of the proof of claim.85 Even then, the

Court told Mr. Gameros: “I mean he needs to be asked every which way from Sunday whether

he’s waiving the right to challenge Highland’s 46.06 interest from now until eternity, okay. That’s

basically, you know, we either have that agreement or we’ll just have a trial.86 Mr. Dondero then

again agreed to the entry of an order denying HCRE’s proof of claim with prejudice and agreed

not to challenge HCMLP’s equity ownership in SE Multifamily Holdings.87

         After all of that, the Court stated: “[I]t feels like we had a little bit of reluctance to say it as

forcefully as we would need to have it said to avoid relitigation” and then denied HCRE’s motion

to withdraw its proof of claim.88 In doing so, the Court found that HCRE had acted with “undue

vexatiousness” in pursuing the proof of claim merely because HCMLP opposed the claim and had

spent “hundreds of thousands of dollars” doing so.89 The Court therefore ordered additional

depositions to take place and the parties to attend trial. And as a parting shot, the Court asked the

U.S. Trustee to investigate HCRE and Mr. Dondero (who signed the proof of claim):

         I don’t mean to be alarming, but I want it run by the U.S. Trustee because, you know, I’ve
         heard some things that have troubled me about the, you know, lack of good faith with
         regard to the proof of claim and, you know alleged gamesmanship. And, you know, I
         talked earlier about this goes to the integrity of the system, you know, filing a proof of
         claim under penalty of perjury. . . . It’s just something uncomfortable going on in my brain
         about, you know, again a proof of claim being on file two, almost two and a half years and
         then, you know, okay, never mind, okay, I agree to never mind as long as you agree to

84
   Id. at 38:24-39:3, 39:8-24.
85
   Id. at 40:9-17, 41:10-22, 42:13-25.
86
   Id. at 42:21-25 (emphasis added).
87
   Id. at 43:23-44:6.
88
   Id. at 54:6-15.
89
   Id. at 52:4-53:14.


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         XYZ. . . . I just know if there are quid pro quos I feel like, you know, maybe I need to have
         the U.S. Trustee, not per se signing off on any agreed order but at least kind of looking at
         it . . . .90

The suggestion that the U.S. Trustee investigate supposed “gamesmanship” by HCRE and Mr.

Dondero and whether they had given quid pro quos is particularly concerning, where the entire

record of the hearing makes clear that it was HCMLP and its counsel asking for quid pro quos in

return for agreeing to the withdrawal of HCRE’s proof of claim.

IV.      THE COURT SHOULD IMMEDIATELY RECUSE ITSELF

         Application of the appropriate standard for recusal leaves little doubt that recusal is

required in this case. Under Section 28 U.S.C. § 455, a judge “shall disqualify [her]self in any

proceeding in which h[er] impartiality may reasonably be questioned.”91 A judge “shall also

disqualify [her]self” if one of several enumerated circumstances exist, including if the judge “has

a personal bias or prejudice concerning a party, or personal knowledge of disputed evidentiary

facts concerning the proceeding.”92 The provisions of section 455 are mandatory and afford

separate, though overlapping, grounds for recusal.93

         Under section 455(a), recusal is required whenever a judge’s partiality might reasonably

be questioned, even if the judge does not have actual personal bias or prejudice.94 The test is not

whether the judge believes he or she is capable of impartiality and not whether the judge possesses

actual bias.95 Instead, the test is whether the “‘average person on the street who knows all the

relevant facts of a case’” might reasonably question the judge’s impartiality.96 As Congress



90
   Id. at 57:18-59:4.
91
   28 U.S.C. § 455(a) (emphasis added).
92
   28 U.S.C. § 455(b)(1) (emphasis added).
93
   Andrade v. Chojnacki, 338 F.3d 448, 454 (5th Cir. 2003).
94
   Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 850 (2001); Andrade, 338 F.3d at 454.
95
   See Burke v. Regolado, 935 F.3d 960, 1054 (10th Cir. 2019) (citations omitted); Liljeberg, 486 U.S. at 805.
96
   In re Kansas Pub. Employees Retirement Sys., 85 F.3d 1353, 1358 (8th Cir. 1996).


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explained when enacting section 455, litigants “ought not have to face a judge where there is a

reasonable question of impartiality.”97 Thus, this statutory provision was “designed to promote

public confidence in the impartiality of the judicial process.”98 Accordingly, recusal is warranted

where a judge’s comments during proceedings would “cause a reasonable observer to question

whether [the judge] ‘would have difficulty putting h[er] previous views and findings aside.’”99

        With respect to 28 U.S.C. § 455(b), although “judicial rulings alone almost never constitute

a valid basis for a bias or partiality motion,” the Supreme Court has recognized that predispositions

developed during the course of a trial can suffice to demonstrate the requisite bias or prejudice.100

In this regard, the words “bias” and “prejudice” mean a disposition or opinion that is somehow

wrongful or inappropriate, either because: (a) it is undeserved; (b) it rests upon knowledge that the

holder of the opinion ought not to possess; or (c) it is excessive in degree. 101 Notably, a court’s

consideration of an extrajudicial source of information is a factor in favor of finding either an

appearance of partiality under section 455(a) or bias or prejudice under section 455(b)(1).102

Moreover, “opinions formed by the judge on the basis of facts introduced or events occurring in

the course of the current proceedings, or of prior proceedings,” may evidence bias if the opinions

reveal that they “derive from an extrajudicial source; and they will do so if they reveal such a high

degree of favoritism or antagonism as to make fair judgment impossible.”103

        In short, the Movants, like all other litigants, are entitled to a full and fair opportunity to



97
   H. Rep. No. 1453, 93rd Cong., 2d Sess. 1 (1974), reprinted in 1974 U.S. Code Cong. & Admin. News 6351, 6355.
98
   In re Drexel Burnham Lambert Inc., 861 F.2d 1307, 1313 (2d Cir. 1988) (quoting H.R. Rep. No. 1453); Liljeberg,
486 U.S. at 859-60.
99
   Microsoft Corp., 56 F.3d at 1465 (quoting United States v. Torkington, 874 F.2d 1441, 1447 (11th Cir.1989)).
100
    Liteky v. U.S., 510 U.S. 540, 555 (1994).
101
    Id. at 554.
102
     Bell v. Johnson, 404 F.3d 997, 1004 (6th Cir. 2005) (citations omitted). Importantly, consideration of an
extrajudicial source is not necessary to a finding of bias or prejudice. Liteky, 510 U.S. at 551, 554-55.
103
    Liteky, 510 U.S. at 555(citation omitted) (emphasis added).


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make their case in an impartial forum—regardless of their history with that forum.104 Indeed,

“fundamental to the judiciary is the public’s confidence in the impartiality of [its] judges and the

proceedings over which they preside.”105 Thus, “justice must satisfy the appearance of justice.”106

For this reason, the Fifth Circuit has held that “[i]f the question of whether § 455(a) requires

disqualification is a close one, the balance tips in favor of recusal.”107

         In this case, the balance can tip only in one direction because recusal is appropriate under

both prongs of 28 U.S.C. § 455. At a minimum, the Court’s statements and actions in this case

would cause any objective observer to question the Court’s impartiality, which mandates

recusal.108 As set forth above, the Court has made antagonistic statements to and about Movants

and has manifested an “apparent distrust” of Movants since “early in the litigation.”109 Indeed, the

Court deemed Mr. Dondero a bad actor at the very first hearing it held in the case, based entirely

on opinions formed during the Acis Bankruptcy.110 At that first hearing, the Court singled Mr.

Dondero out for potential future sanctions before he had taken any action in this case. Just one

month later, the Court accused Mr. Dondero of misconduct at a hearing that he did not attend in

connection with a motion that he did not file.111 The Court’s subsequently repeatedly accused

Movants and their counsel of acting in “bad faith,” repeatedly called Mr. Dondero “vexatious” or

“litigious” when he acted in a legally justifiable manner, and generally manifested a distrust of




104
    Miller v. Sam Houston State Univ., 986 F.3d 880, 893 (5th Cir. 2021) (citing United States v. Jordan, 49 F.3d 152,
155 (5th Cir. 1995)).
105
    Id.
106
    Id. (quoting Offutt v. United States, 348 U.S. 11, 14 (1954)).
107
    In re Chevron U.S.A., Inc., 121 F.3d 163, 165 (5th Cir. 1997).
108
    Liljeberg, 486 U.S. at 850; Andrade, 338 F.3d at 454.
109
    Sentis Group, Inc., 559 F.3d at 904-05 (reassigning case to a new judge on remand for engaging in similar
behavior).
110
    See Section III.B, supra at pp. 6-7; see also Original Recusal Motion, Bankr. Dkt. No. 2061 at pp. 5-6.
111
    See Section III.C.1, supra at pp. 7-8.


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Movants and their counsel. Courts repeatedly have found recusal appropriate in circumstances

that mirror these.112

         But in addition to appearing biased, which itself would mandate recusal, the Court in this

case has acted in a manner that demonstrates such a “high degree of favoritism or antagonism as

to make fair judgment impossible.”113 Although the record is replete with examples, by way of

summary, the Court has (1) admitted that the negative opinions about Mr. Dondero formed during

the Acis Bankruptcy cannot be excised from the Court’s mind;114 (2) made repeated negative

statements about Mr. Dondero and entities that the Court perceives be affiliated with him in

connection with the Court’s rulings;115 (3) repeatedly targeted Mr. Dondero with threats of

contempt or sanctions, singled Mr. Dondero out for disparate treatment, and and questioned the

good faith of Movants and their counsel for defending lawsuits and motions and/or asserting valid



112
    See, e.g., In re U.S., 572 F.3d at 311-12 (reversing district judge’s order denying motion to recuse and ordering
that “all orders entered by the Judge after the motion for recusal was filed . . . be vacated” where judge questioned one
party’s decision to pursue a course of action and made comments that were critical of the party’s position ); Kennedy,
682 F.2d at 258-60 (ordering reassignment of the case to a different judge on remand where judge openly questioned
the integrity of one party’s counsel, suggested he was proceeding in “bad faith,” and called certain decisions made
by him “suspicious”); Johnson, 120 F.3d at 1334-37 (ordering reassignment of the case to a different judge on remand
where judge questioned in open court “the conduct of the lawyers” for one party, and the judge questioned one party’s
“good faith”); Microsoft Corp., 56 F.3d at 1465 (where judge’s comments “evidenced his distrust of [one party’s]
lawyers and his generally poor view of [one party’s] practices,” a reasonable observer could question whether judge
“would have difficulty putting his previous views and findings aside,” requiring recusal on remand).
113
    Liteky, 510 U.S. at 555.
114
    See Section III.C., supra at pp. 6-7 & n.25.
115
    See Sections III.B, supra at pp. 6-8; Section III.C.4, supra at p. 11; Section III.E.1, supra at pp. 16-17; Section
III.E.2, supra at pp. 17-18; Section III.E.3, supra at pp. 19-20. In addition, the Court has repeatedly described Mr.
Dondero as “vexatious” and “litigious” as a justification for its actions. See Ex. G, Sept. 23, 2020 Hr’g Tr. at 51:14;
Ex. M, Feb. 8, 2021 Hr’g Tr. at 17:15, 37:18, 40:21, 45:13, 46:21; Ex. N, Feb. 23, 2021 Hr’g Tr. at 232:18; Ex. S,
June 25, 2021 Hr’g Tr. at 109:21. The Court also has repeatedly surmised that the actions of Mr. Dondero, Movants,
and their attorneys are in “bad faith” or “frivolous.” See Ex. J, Dec. 16, 2020 Hr’g Tr. at 64:1-5; Ex. L, Jan. 26, 2021
Hr’g Tr. at 254:4; Ex. N, Feb. 23, 2021 Hr’g Tr. at 233:18; Ex. O, May 10, 2021 Hr’g Tr. at 43:3; Ex. R, June 10,
2021 Hr’g Tr. at 87:6. And the Court has repeatedly referred to Mr. Dondero and his companies, including Movants,
in a pejorative manner, as a “Byzantine complex,” “Byzantine empire” and “web.” See Confirmation Order, ¶ 6; Ex.
D, June 30, 2020 Hr’g Tr. at 80:17-18, 86:19, 87:5-8; Ex. E, July 8, 2020 Hr’g Tr. at 46:11; Ex. M, Feb. 8, 2021 Hr’g
Tr. at 7:15; Ex. Q, June 8, 2021 Hr’g Tr. at 294:3. And the Court has singled out Mr. Dondero, his affiliates (including
Movants), and his attorneys for disparate treatment at every possible opportunity. See Ex. H, Oct. 21, 2020 Hr’g Tr.
at 10:21-24, 34:1-5, 36:1-14; Ex. I, Dec. 10, 2020 Hr’g Tr. at 24:19-25; Ex. N, Feb. 23, 2021 Hr’g Tr. at 232:7-234:19;
Ex. T, Mar. 1, 2022 Hr’g Tr. at 83:12-23.


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legal positions;116 (5) sanctioned Mr. Dondero in connection with a motion that he and others

testified he had no role in filing or responsibility for authorizing;117 (6) prophylactically sanctioned

Mr. Dondero for asserting his lawful appellate rights;118 (7) concluded, without supporting

evidence, that any entity the Court deems connected to Mr. Dondero is essentially no more than a

tool of Mr. Dondero;119 (8) disregarded the testimony of any witness with a connection to Mr.

Dondero as per se less credible, which includes attorneys and persons who owe fiduciary duties

and ethical obligations;120 and (9) ruled against Mr. Dondero and the Movants at every possible

opportunity, regardless of the evidence and the testimony before the Court. Each of these examples

alone would mandate recusal, but cumulatively they leave no doubt that the Court’s antagonism

for Movants goes far beyond is acceptable and makes fair judgment impossible.

         Moreover, contrary to the Court’s prior suggestion that any motion to recuse filed by

Movants is untimely, there is a very real and present reason to seek recusal even now. 121 As

explained above, the Court continues to preside over the bankruptcy proceedings, acted in a

manner that was very clearly partial less than two weeks ago, and continues to preside over no less

than nine adversary proceedings. Where, as here, the Court will be called upon to issue future

rulings affecting Movants, a motion to recuse is timely.122



116
    See, e.g., Section III.C.2, supra at p. 9; Section III.C.4, supra at pp. 10-11; Section III.D., supra at p. 14 & nn.59,
62; Section III.E.2, supra at pp. 17-18.
117
    See Section III.E.1, supra at pp. 15-17.
118
    See id.
119
    See Section III.C.4, supra at pp. 10-11.
120
    See, e.g., Section III.D, supra at pp. 13-14; Section III.E.3 at pp. 19-20.
121
    The sole case cited by the Court for this proposition—Davies v. C.I.R., 68 F.3d 1129 (9th Cir. 1995)—is inapposite
because the basis for the recusal motion was one event —a pretrial disclosure by the judge—which occurred eight
months prior to the petitioners’ motion to recuse. In stark contrast, the Court’s bias in this case has been pervasive
and consistent throughout the ongoing proceedings and continues to this day.
122
    Indeed, various courts have ordered recusal even on remand, after the district judge has presided over the action
through pre-trial proceedings and trial. See, e.g., Johnson, 120 F.3d at 1334 (recusal after trial and explaining that
“the loss of efficiency and economy pales in comparison” to “the necessity to preserve the appearance of impartiality,
fairness, and justice” on remand); Kennedy, 682 F.2d 259-60; Sentis Group. 559 F.3d at 905.


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V.     CONCLUSION

       Litigants before the federal bankruptcy courts should be able to expect fair treatment, such

that they may obtain justice, exercise remedies, and freely appeal adverse decisions, whatever the

judge’s personal opinions of the litigants. That is not what has happened in the proceedings before

this Court, which is precisely why federal statute affords litigants the tool of recusal. This Court

is evidently biased, cannot act in a just manner with respect to the Movants, and should recuse

itself and allow all parties the fair day in court that the Constitution requires. Movants respectfully

request that their Motion be granted. In the alternative, Movants hereby request that the Court

make clear that any order denying recusal is final so that Movants may appeal the Court’s order to

the Northern District of Texas.




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Dated: October 17, 2022                             Respectfully submitted,


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                                                    Partners, LLC




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on October 17, 2022, a true and correct copy of the above
and foregoing document was served on all parties and counsel set to receive notice by the Court’s
ECF system.

                                                      /s/ Michael J. Lang ________
                                                      Michael J. Lang




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